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                 Exhibit K
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Fwd: FW: IAF Contract Terminations_per PMarocco as new President
                 <                 >                                                   Fri, Feb 28, 2025 at 8:41 PM
To: OfficeDirector <OfficeDirector@iaf.gov>
Cc:            <                >,       <            >


  See the below.




                                     www.iaf.gov



  Empowered Communities, Sustainable Results



  ---------- Forwarded message ---------
  From:                  <                                >
  Date: Fri, Feb 28, 2025 at 8:32 PM
  Subject: FW: IAF Contract Terminations
  To:                 <l                 >
  Cc:                     <                                   >



         ,



  My apology for the late night notification. I wanted to inform you that ARC received a directive this
  evening through the Treasury SPE, as authorized by IAFs newly appointed President Peter Marocco,
  to terminate IAF contracts. The contracts we were instructed not terminate are highlighted in the
  attached spreadsheet. Please be advised that ARC procurement is taking action immediately this
  evening to execute these terminations as directed. We will be issuing the English version of the
  modification only this evening in order for our team to execute all of the terminations timely, however
  we will issue the translated versions next week, if requested.



  If you have any questions, please do not hesitate to reach out to          ,       or myself.



  Thank you
              Case 1:25-cv-00778-LLA                 Document 35-12                  Filed 04/18/25   Page 3 of 5

                                                                     , Manager
                                                  Non Treasury Acquisition Branch (NTAB)

                                                  Division of Procurement Services

                                                  Bureau of the Fiscal Service

                                                  Phone

                                                  Email




From: Ethan Shaotran - AD <                                   >
Sent: Friday, February 28, 2025 6:15 PM
To:              @treasury.gov
Cc:                  <                                              >;
Subject: Re: IAF Contract Terminations


CAUTION: This email has originated from an external entity. PLEASE CONSIDER THE SOURCE before responding,
clicking on links, or opening attachments.




                                          This email is from a US Government agency.




Hi all, here is the final list - 12 green rows to keep until further notice.



On Fri, Feb 28, 2025 at 6:12 PM <                  @treasury.gov> wrote:

  I defer to Ethan on confirmation of the list.
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From:                   <               @ scal.treasury.gov>




                                            fi
Sent: Friday, February 28, 2025 6:11 PM
To: Ethan Shaotran - AD <                        >; Marocco, Peter W <                              >
Cc:               <                         >
Subject: RE: IAF Contract Terminations




                                     This message was sent securely using Zix®




My team is getting ready to go to work on the terminations. We’re certain this the final list to keep?


Thanks,




From: Ethan Shaotran - AD <                                >
Sent: Friday, February 28, 2025 6:09 PM
To: Marocco, Peter W <                             >
Cc:                            ;                       <                                  >
Subject: Re: IAF Contract Terminations


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clicking on links, or opening attachments.




                                     This email is from a US Government agency.




Hi     ,



Please do not cancel the following ten contracts (mostly IT/HR systems) until further notice. Please let me know if you
have any questions.

       20343125A00001
       20343121C00018
       20343123F00003
       20343121F00014
       20343122F00003
       20343124P00003
       20343124F00027
       20346423F00010
       20343124F00010
       20343125F00002
            Case 1:25-cv-00778-LLA          Document 35-12           Filed 04/18/25       Page 5 of 5
Ethan



On Fri, Feb 28, 2025 at 5:20 PM Marocco, Peter W <                         > wrote:

  Ethan,



  Thanks for taking care of this for me while I was on the road. Confirming Ethan’s message below.



  Please let me know if you have any questions.



  Thanks,

  Pete




  From: Ethan Shaotran - AD <                             >
  Sent: Friday, February 28, 2025 5:16 PM
  To:                            ;                    <                                    >
  Cc: Marocco, Peter W <                          >
  Subject: IAF Contract Terminations


  Hi       and    ,



  I'm confirming, on behalf of Pete Marocco (cc'ed), the newly designated acting president of Inter-American
  Foundation, that Fiscal Service is clear to terminate all contracts for convenience.



  Thank you.




This message was secured by Zix®.


  IAF Active Contracts.xlsx
  170K
